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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     OPERATING ENGINEERS HEALTH                         Case No. 20-cv-01500-JCS
                                         AND WELFARE TRUST FUND FOR
                                   8     NORTHERN CALIFORNIA, et al.,
                                                                                            ORDER DENYING WITHOUT
                                                         Plaintiffs,                        PREJUDICE APPLICATION FOR
                                   9
                                                                                            SUBSTITUTE SERVICE
                                                    v.
                                  10
                                                                                            Re: Dkt. No. 24
                                  11     LODI SWEEPING COMPANY, INC., et al.
                                                         Defendants.
                                  12
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                                  13          Plaintiffs filed an ex parte application to permit service on the California Secretary of State
                                  14   under Rule 4(h)(1)(A) of the Federal Rules of Civil Procedure and section 1702(a) of the
                                  15   California Corporations Code in lieu of serving the registered agent of Defendant Lodi Sweeping
                                  16   Company, Inc.
                                  17          Section 1702(a) provides that such service is permissible where “it is shown by affidavit to
                                  18   the satisfaction of the court that process against a domestic corporation cannot be served with
                                  19   reasonable diligence upon the designated agent by hand in the manner provided in Section 415.10,
                                  20   subdivision (a) of Section 415.20 or subdivision (a) of Section 415.30 of the Code of Civil
                                  21   Procedure or upon the corporation in the manner provided in subdivision (a), (b) or (c) of Section
                                  22   416.10 or subdivision (a) of Section 416.20 of the Code of Civil Procedure.” Cal. Corp. Code
                                  23   § 1702(a).
                                  24          Sections 415.10 and 415.20(a) provide for personal service on the agent or on a person
                                  25   apparently in charge at the agent’s address. Plaintiffs filed a declaration of counsel Michele
                                  26   Stafford attaching an affidavit of process server Krystal Hurst stating that the address for Lodi
                                  27   Sweeping’s registered agent Peter John Holtz (a certified public accountant) was an empty
                                  28   building in a newly constructed complex, and that a law enforcement officer in the vicinity was
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                                   1   not aware of Holtz’s business. Stafford Decl. (dkt. 25) ¶ 3 & Ex. B. Holtz’s business website and

                                   2   public records related to his CPA license list the same address. Id. ¶ 4 & Exs. C, D. Holtz’s

                                   3   website also lists a telephone number, see id. Ex. C, and there is no evidence that Plaintiffs called

                                   4   that number to determine whether Holtz is willing to accept personal service of process. The

                                   5   Court is therefore not satisfied on the current record that Plaintiffs have exhausted reasonably

                                   6   diligent efforts to serve process on Lodi Sweeping’s registered agent under sections 415.10 and

                                   7   415.20(a).

                                   8            Section 415.30(a) provides for service by mail, requiring the defendant to return an

                                   9   acknowledgment of receipt before service is effective under that statute. There is no indication

                                  10   that Plaintiffs have as yet attempted that method of service. It is possible that Holtz’s mail is

                                  11   forwarded from the address that Plaintiffs found vacant, or that he receives mail there despite its

                                  12   apparent vacancy. It is also not clear whether Plaintiffs are aware of any business mailing address
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                                  13   at which to attempt service by mail on Lodi Sweeping. Plaintiffs therefore have not shown that

                                  14   Lodi Sweeping cannot be served with reasonable diligence under section 415.30(a).

                                  15            Section 416.10(a) provides for service on a registered agent. As discussed above, the

                                  16   Court is not satisfied that Plaintiffs have exhausted reasonable efforts to serve Lodi Sweeping’s

                                  17   registered agent.

                                  18            Section 416.10(b) provides for service on a corporation’s “president, chief executive

                                  19   officer, or other head of the corporation, a vice president, a secretary or assistant secretary, a

                                  20   treasurer or assistant treasurer, a controller or chief financial officer, a general manager, or a

                                  21   person authorized by the corporation to receive service of process.” Cal. Civ. Proc. Code

                                  22   § 416.10(b). Plaintiffs personally served Defendant Eric Wilson,1 who appears to hold all relevant

                                  23   officer positions for Lodi Sweeping, but Plaintiffs did not realize at the time that Wilson could

                                  24   have also accepted service on behalf of Lodi Sweeping. Stafford Decl. ¶ 5 & Exs. A, E. Since

                                  25   then, Plaintiffs unsuccessfully sought to negotiate with Wilson’s then-attorney (who now no

                                  26   longer represents him) for Wilson to accept service on behalf of Lodi Sweeping, and process

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                                           The Clerk entered Wilson’s default on September 28, 2020. See dkt. 21.
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                                   1   servers unsuccessfully sought to serve Wilson with process for Lodi Sweeping at his home at

                                   2   different times of day on nine occasions, eventually concluding that he is evading service. Id.

                                   3   ¶¶ 6–7 & Ex. F. Plaintiffs also filed a declaration by private investigator Thien C. Phan explaining

                                   4   why further efforts to surveil Wilson and attempt personal service would not be practical in the

                                   5   rural area where Wilson lives. Phan Decl. (dkt. 26). The Court is satisfied that Plaintiffs have

                                   6   exhausted reasonable efforts to serve Lodi Sweeping by service on an officer under section

                                   7   416.10(b).

                                   8          Section 416.10(c) governs service on a bank, and section 416.20(a) governs service on a

                                   9   defunct corporation. There is no indication that either statute applies to Lodi Sweeping.

                                  10          Because the Court is not satisfied at this time that Lodi Sweeping cannot be served by mail

                                  11   under section 415.30(a) or that its registered agent Holtz would not accept personal service if

                                  12   contacted, Plaintiffs’ application for substitute service on the Secretary of State under section
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                                  13   1702(a) is DENIED without prejudice. If they have not already done so, Plaintiffs are instructed

                                  14   to attempt serving process by mail under section 415.30(a) and to attempt calling Holtz to

                                  15   determine if he will accept service.

                                  16          If Plaintiffs cannot complete service on Lodi Sweeping despite reasonable diligence as

                                  17   described above, they may renew their application for substitute service under section 1702(a).

                                  18   Any renewed application must also state all forms of contact information for Lodi Sweeping,

                                  19   Wilson, and Holtz of which Plaintiffs are aware, so that the Court may consider whether, in an

                                  20   abundance of caution, to require additional forms of substitute service beyond service on the

                                  21   Secretary of State. The deadline for Plaintiffs to serve Lodi Sweeping is CONTINUED to

                                  22   December 4, 2020.

                                  23          IT IS SO ORDERED.

                                  24   Dated: October 20, 2020

                                  25                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  26                                                    Chief Magistrate Judge
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